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                                                       U.S.
Patrick J. Murphy, WSB No. 5-1779
Scott C. Murray, WSB No. 7-4896
Williams, Porter, Day & Neville, P.C.                    IN
159 North Wolcott, Suite 400
P.O. Box 10700
Casper, WY 82602-3902
Telephone: (307) 265-0700
Facsimile: (307) 266-2306
E-Mail: pmurphy@vvpdn.net
         smurray@wpdn.net

Attorneys for Plaintiff

                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF WYOMING



 BCB CHEYENNE LLC d/b/a BISON
 BLOCKCHAIN, a Wyoming limited liability
 company,


                          Plaintiff,
 v.



 MINEONE WYOMING DATA CENTER
 LLC, a Delaware limited liability company;         Civil Action No. Z3 CV1 / 5kjj>
 MINEONE PARTNERS LLC, a Delaware
 limited liability company; TERRA CRYPTO
 INC., a Delaware corporation; BIT ORIGIN,
 LTD, a Cayman Island Company;
 SONICHASH LLC, a Delaware limited
 liability company; and JOHN DOES 1-20,
 related persons and companies who control
 or direct some or all of the named
 Defendants.


                           Defendants.




           COMPLAINT FOR BREACH OF CONTRACT, ANTICIPATORY
        REPUDIATION OF CONTRACT, INTENTIONAL INTERFERENCE WITH
         CONTRACTUAL RELATIONS, ALTER EGO LIABILITY, ENTERPRISE
             LIABILITY, AND LOST PROFITS AND MONEY DAMAGES
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B.    That Plaintiff is entitled to pre-judgment and post-judgment interest at the legal

      rates;


C.    That Plaintiff recover all of its attorney fees and costs against all Defendants;

D.    That Defendants be enjoined from making or publishing any defamatory

      statements, in the public domain, about Plaintiff or its members; and

E.    For such other and further relief as the Court deems just and proper.

DATED this 3rd day of May, 2023.



                                     BCB CHEYENNE LLC d/b/a/ BISON
                                     BLOCKCHAIN,
                                     Plaintiff



                                     /s/ Patrick J. Murphy _
                                     Patrick J. Murphy, WSB No. 5-1
                                     Scott C. Murray, WSB No. 7-4896
                                     Williams, Porter, Day & Neville, P.C.
                                     159NWolcottSt., Suite 400
                                     Casper, WY 82601
                                     Ph: (307) 265-0700
                                     pmurphy@wpdn.net
                                     smurrav@wpdn.net

                                     Attorneysfor PlaintiffBCB Cheyenne LLC d/b/a
                                     Bison Blockchain




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